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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 Be Labs, Inc.,                                              Case No. 1:18-cv-00625-RGA
                       Plaintiff,                            Patent Case
                       v.                                    Jury Trial Demanded
 CradlePoint, Inc.,
                  Defendant.



           JOINT STIPULATION AND ORDER FOR EXTENSION OF TIME

        Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending Plaintiff’s time to respond to Defendant’s Motion to Dismiss and Opening Brief in

Support (D.I.s 7, 8), which is currently due on July 5, 2018. Subject to the Court’s approval,

the parties request the Plaintiff’s time file its response to Defendant’s Motion to Dismiss and

Opening Brief be extended thirty days up to and including August 5, 2018. Defendant’s time to

file its reply brief shall be extended to August 23, 2018.

        Counsel for Plaintiff and counsel for Defendant have also met and conferred regarding

extending Plaintiff’s time to respond to Defendant’s Answer and Counterclaims. (D.I. 9).

Subject to the Court’s approval, the parties request that Plaintiff’s time to file its response to

Defendant’s Answer and Counterclaims be extended two weeks up to and including July 23,

2018.

        The reason for the requested extensions is to allow counsel for Plaintiff additional time

to investigate the allegations set forth in Defendant’s Motion and Counterclaims, consult with

their clients, and consider an appropriate response. No party will be prejudiced by these brief

extensions.




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Dated: June 20, 2018         Respectfully submitted,


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                             Attorneys for Defendant CradlePoint, Inc.


    SO ORDERED this _____ day of ____________, 2018



                             UNITED STATES DISTRICT COURT JUDGE




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